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   Attorneys for Defendant, TARGET
 7 CORPORATION
 8                       UNITED STATES DISTRICT COURT
 9   NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10
11 BRYON JACKSON,                            Case No. 3:21-cv-08458-LB
                                             [Honorable District Judge, Magistrate
12              Plaintiff,                   Judge Laurel Beeler]
13        v.
                                             [MOTION IN LIMINE NO. 1]
14 TARGET CORPORATION,
15              Defendant.                   NOTICE OF MOTION AND
                                             MOTION IN LIMINE BY
16                                           DEFENDANTS TO EXCLUDE
                                             REFERENCE TO ANY OTHER
17                                           PRIOR OR SUBSEQUENT
                                             INCIDENTS; MEMORANDUM OF
18                                           POINTS AND AUTHORITIES
19                                           [Proposed Order filed concurrently]
20
                                             Date: 2/15/2024
21                                           Time: 1:00 thp.m.
                                             Crtrm.: B 15 Floor
22
23
24 TO PLAINTIFF AND HIS COUNSEL OF RECORD HEREIN:
25        PLEASE TAKE NOTICE THAT on February 15, 2024, at 1:00 p.m., or as
26 soon thereafter as counsel may be heard, in the courtroom of the Honorable Laurel
27 Beeler located in the San Francisco Courthouse, 450 Golden Gate Ave., San
28 Francisco, CA 94102, Defendant TARGET CORPORATION (“Defendant”) will
                                      1
        DEFT'S MIL NO. 1 TO EXCLUDE REFERENCE TO ANY OTHER PRIOR OR SUBSEQUENT
                                        INCIDENTS
       Case 3:21-cv-08458-LB Document 102 Filed 01/17/24 Page 2 of 5




 1 move in limine for an order to exclude from evidence, and from being published to
 2 the jury or finder of fact, and from being admitted into evidence, in this matter any
 3 and all evidence, documents, records, recordings, testimony, statements, and
 4 reference before the jury, and from admission into evidence, of any and all references
 5 to any other prior or subsequent incidents.
 6        This motion is made pursuant to Fed. R. Evid. 401 et seq., 801 et seq., and 1001
 7 et seq., on the grounds that such evidence is irrelevant and inadmissible hearsay and
 8 improper character evidence and that if the evidence were admitted, there is a danger
 9 that Defendant would be unfairly prejudiced, there would be confusion of issues,
10 misleading of the jury, and the evidence would require undue consumption of time.
11        This motion is made following defense counsel's meet and confer efforts with
12 plaintiff’s counsel on December 29, 2023.
13        This motion is based on the attached memorandum of points and authorities,
14 all pleadings, records and files in this action, and upon such further oral and
15 documentary evidence as may be presented at the hearing on this motion.
16
17 DATED: January 17, 2024              MANNING & KASS
                                        ELLROD, RAMIREZ, TRESTER LLP
18
19
20                                      By:         /s/Gabriella Pedone
21                                            David V. Roth
                                              Gabriella Pedone
22
                                              Attorneys for Defendant, TARGET
23                                            CORPORATION
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         DEFT'S MIL NO. 1 TO EXCLUDE REFERENCE TO ANY OTHER PRIOR OR SUBSEQUENT
                                         INCIDENTS
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.      INTRODUCTION
 3         Defendant respectfully requests that the honorable Court exclude all evidence,
 4 testimony, and references in or before the presence of the jury by the plaintiff,
 5 plaintiff’s attorneys, and plaintiff’s witnesses (including experts) concerning any
 6 other prior or subsequent incidents involving Defendant in this case which are
 7 unrelated to the subject incident - including but not limited to any and all prior or
 8 subsequent complaints or allegations, as well as any other incidents involving
 9 Defendant other than the subject incident.
10         The Court should exclude all such evidence because it is irrelevant and unduly
11 prejudicial, particularly under the controlling standards of Fourth Amendment
12 jurisprudence.
13 II.     EVIDENCE OF PRIOR OR SUBSEQUENT INCIDENTS INVOLVING
14         THE DEFENDANT UNRELATED TO THE SUBJECT INCIDENT
15         SHOULD BE EXCLUDED BECAUSE IT IS IRRELEVANT.
16         The Court should exclude from evidence all prior or subsequent incidents or
17 investigations involving Defendant because such matters are irrelevant to the issue of
18 whether or not the Defendant's conduct during the subject incident was objectively
19 reasonable and such evidence would constitute impermissible character evidence.
20         Federal Rules of Evidence rule 401 sets forth a test for relevance. Evidence is
21 relevant if it has any tendency to make a fact more or less probable that it would be
22 without the evidence and the fact is of consequence in determining the action. Only
23 relevant evidence is admissible. Fed. R. of Evid. 402.
24         The Court should exclude from evidence all prior or subsequent incidents or
25 investigations involving Defendant because such matters are irrelevant to the issue of
26 whether or not the Defendant's employee's conduct was intentional. At best, evidence
27 of other acts would pertain to the Defendant officers’ character, not their conduct on
28 the date in question. As discussed below, evidence of a person’s character or a
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                                          INCIDENTS
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 1 character trait is not admissible to prove that on a particular occasion the person acted
 2 in accordance with that character or trait.        Accordingly, evidence of prior or
 3 subsequent incidents or investigations involving the Defendant employees are
 4 irrelevant to the issues to be decided in this case.
 5 III.    CHARACTER EVIDENCE IS INADMISSIBLE TO ESTABLISH HOW
 6         THE INDIVIDUAL BEHAVED ON A PARTICULAR OCCASION.
 7         Evidence of prior or subsequent incidents is generally inadmissible in Fourth
 8 Amendment cases because character evidence is normally not admissible in a civil
 9 rights case. The question to be resolved was whether, objectively, an officer’s use of
10 force was excessive on the date of the subject incident.
11         Federal Rules of Evidence Rule 404 prohibits evidence of a person’s character
12 or character trait to prove that on a particular occasion the person acted in accordance
13 with that character or character trait.
14         Thus, “Rule 404 generally prohibits the admission of evidence of a person’s
15 character for the purpose of proving that the individual acted in conformity with that
16 character on a particular occasion. The rationale behind this rule is the notion that
17 this evidence has slight probative value but has a tendency to be highly prejudicial or
18 to confuse the issues.” Cohn v. Papke, 655 F.2d 191, 193-94 (9th Cir. 1981) (citations
19 omitted) (reversing a failure to exclude evidence regarding a party’s past sexual
20 experiences in a police case). Accordingly, “[e]vidence of prior misconduct is
21 generally inadmissible for purposes of showing that the plaintiff or defendant was
22 more likely to have been at fault.” Monger v. Cessna Aircraft Co., 812 F.2d 402, 406
23 (8th Cir. 1987) (citations omitted) (affirming exclusion of a warning letter
24 documenting prior safety problems-misconduct).
25         Here, regardless of whether the reference, testimony, and evidence regarding
26 other incidents involves prior or subsequent incidents, related complaints or
27 investigation or other acts of misconduct that did not arise during the incident at issue
28 in plaintiff’s complaint – all such matters constitute inadmissible character evidence
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                                          INCIDENTS
         Case 3:21-cv-08458-LB Document 102 Filed 01/17/24 Page 5 of 5




 1 for the exact same reasons as stated in Eigeman.
 2         Moreover, plaintiff cannot plausibly argue that the exceptions to the character
 3 evidence prohibition apply here because the intent, plan, or motive of the Defendant
 4 officers is wholly irrelevant to plaintiff’s constitutional claims, which are adjudged
 5 from an objective rather than a subjective standard. See Graham, 490 U.S. at 397
 6 (“[a]n officer’s evil intentions will not make a Fourth Amendment violation out of an
 7 objectively reasonable use of force; nor will an officer’s good intentions make an
 8 objectively unreasonable use of force constitutional.”); accord Brigham City v. Stuart,
 9 547 U.S. 398, 404 (2006) (affirming that the subjective motivations of the involved
10 officers have no bearing on whether a particular seizure is unreasonable under the
11 Fourth Amendment); see also Fed. R. Evid. 401, 402.
12         Accordingly, in light of the inescapable inference that would otherwise result
13 from the presentation of such matters to the jury, the Court should exclude such other
14 acts evidence as inadmissible character evidence.
15 IV.     CONCLUSION.
16         For all the foregoing reasons, Defendant respectfully requests that the Court
17 exclude all evidence of any other prior or subsequent incidents or other investigations
18 involving Defendant which are unrelated to the subject incident - including but not
19 limited to any and all prior or subsequent complaints or allegations.
20
21 DATED: January 17, 2024              MANNING & KASS
                                        ELLROD, RAMIREZ, TRESTER LLP
22
23
24                                      By:         /s/Gabriella Pedone
25                                            David V. Roth
                                              Gabriella Pedone
26
                                              Attorneys for Defendant, TARGET
27                                            CORPORATION
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                                              3
          DEFT'S MIL NO. 1 TO EXCLUDE REFERENCE TO ANY OTHER PRIOR OR SUBSEQUENT
                                          INCIDENTS
